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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 LISA PINEDA, individually, and on behalf of
 all others similarly situated,
                                                    Case No.: 1:21-cv-00462
      Plaintiff,
                                                    Honorable Judge Thomas M. Durkin
 v.

 AETNA BETTER HEALTH OF ILLINOIS

 INC.,

      Defendant.

                               STIPULATION OF DISMISSAL

         Plaintiff, LISA PINEDA, and Defendant, AETNA BETTER HEALTH OF ILLINOIS

INC., by and through their undersigned counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii)

hereby stipulate to a dismissal with prejudice of Plaintiff’s individual claims against AETNA

BETTER HEALTH OF ILLINOIS INC. The parties further stipulate to the dismissal of the class

claims without prejudice pursuant to Fed. R. Civ. P. 23(e). Each party to bear its own attorney’s

fees and costs.

Dated: June 8, 2021                                Respectfully Submitted,

 LISA PINEDA                                       AETNA BETTER HEALTH OF ILLINOIS
                                                   INC.
 /s/ Mohammed O. Badwan
 Mohammed O. Badwan, Esq.                          /s/ Kirstin B. Ives
 Sulaiman Law Group, Ltd.                          Kirstin B. Ives, Esq.
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                                                   Attorney for Defendant
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2021, I electronically filed the foregoing with the Clerk of
the Court for the Northern District of Illinois by using the CM/ECF system.



                                                             /s/ Mohammed O. Badwan
                                                             Mohammed O. Badwan, Esq.
